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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


IN THE MATTER OF THE SEARCH OF
THE PERSON OF SEAN T.                 No. 22-mj-1000-DLC
O’DONOVAN.



MEMORANDUM AND ORDER RE: EMERGENCY MOTION TO INTERVENE, STAY THE
GOVERNMENT SEARCH OF CONFIDENTIAL COMMUNICATIONS, AND VACATE THE
   PRIOR SEARCH PROTOCOL OF PRIVILEGED MATERIALS (DKT. NO. 9)

Cabell, U.S.M.J.

     I.   INTRODUCTION

     On January 14, 2022, federal agents seized a cell phone

belonging to Sean O’Donovan (O’Donovan or “movant”) pursuant to a

search warrant issued by this court.        O’Donovan, a Massachusetts

attorney, has since been indicted on charges relating to an alleged

scheme to bribe a city official in connection with his client’s

application for a Host Community Agreement allowing the client to

operate a marijuana dispensary in the city.         The seized phone is

believed to contain evidence, fruits, and instrumentalities of the

alleged offenses.

     In its application for the search warrant, the government

proposed a process for reviewing and screening out any privileged

materials on the phone.      A filter team, made up of an Assistant

United States Attorney, a legal assistant, and FBI Special Agents,

would review the phone’s files to identify any privileged or

potentially privileged materials.      The filter team would turn any
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materials it deemed nonprivileged over to the investigative team

while withholding privileged materials.            As for any “potentially

privileged”     materials     or   privileged      materials      capable   of

redaction, the filter team would provide them to the court so that

the court could determine whether and how the investigative team

should see them.

     Two days after the execution of the search warrant, O’Donovan

filed   an   emergency   motion    seeking    to   vacate   and   replace   the

government’s proposed search protocol.              Under his alternative

approach, O’Donovan would have the opportunity to make initial

privilege determinations, allowing nonprivileged materials to pass

to the investigative team.          Any privileged materials would be

identified in a privilege log, which the government would then be

able to contest.

     Since the motion’s filing, the parties have communicated in

an attempt to resolve the dispute.           The government has proposed a

modified filter protocol (“the proposed modified protocol”) that

addresses some of O’Donovan’s concerns [Dkt. No. 14], but the

parties ultimately have been unable to completely agree on an

appropriate protocol.        Now, following a review of the parties’

filings and information adduced from a hearing held on the motion,

the court denies the movant’s motion and approves the government’s

proposed modified protocol.         The reasons for the court’s ruling

are set forth below.

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     II.    DISCUSSION

            A.   The Government’s Proposed Modified Filter Protocol

     Because this dispute turns on the adequacy of the government’s

proposed modified protocol, the court begins by summarizing how it

would operate.

     First, a FBI forensic analyst not associated with either the

investigative team or the filter team would run certain search

terms against the content of the phone to identify responsive

materials    without     reviewing     any     of   the    underlying   materials

themselves.      [Dkt. No. 14, p. 5].          Any materials not captured by

the search terms would be deemed non-responsive and would be

returned    to   O’Donovan    without    either      the    filter   team   or   the

investigative team ever reviewing them.               [Id.]; see [Dkt. No. 43]

(Table     identifying    the       quantity    of    potentially       responsive

materials on the phone by category).

     Following the return of such materials, the filter team would

review the responsive materials.             The filter team would segregate

any materials it identified as privileged and non-redactable and

then return those materials to the movant.                 [Dkt. No. 14, p. 5].

     With    respect     to   the    remainder       of    materials,   that     is,

responsive materials identified as “not privileged, privileged but

redactable, or otherwise excepted from protection,” the filter

team would consult with O’Donovan.              [Id.].     O’Donovan would have

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five business days to review these materials and object or assent

to their disclosure.            [Id.].    Any non-disputed materials would

pass to the investigative team at the close of the five-day period.

[Id.].    By contrast, disputed materials would be submitted to the

court under seal for a final determination.                [Id.].    As such, under

the government’s proposed modified protocol, the investigative

team would never see any non-responsive materials or responsive

materials identified as privileged, and would not see any other

responsive materials unless O’Donovan first assented to their

disclosure       or    the    court      determined       that    disclosure       was

appropriate.

            B.    Propriety of Filter Teams Generally

      In challenging the proposed protocol, O’Donovan argues that

any filter team review of attorney-client communications on his

phone    constitutes      a   per   se   violation    of    the     attorney-client

privilege. He also argues that allowing the filter team to conduct

the   first-line       privilege    review    in   this    case     amounts   to   “an

impermissible delegation of judicial power.”                [Dkt. No. 9, p. 12].

This view is not well-supported by Circuit precedent.

      While the First Circuit has not squarely ruled on the issues

O’Donovan raises, it has tacitly approved of the use of filter

teams.    See, e.g., United States v. Aboshady, 951 F.3d 1, 5 (1st

Cir. 2020) (describing without criticizing government’s use of a

filter    team    to    among    other    things     “filter      out   potentially

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privileged       communications”          before     turning     files     over    to

“investigative      team”)).        Various        district    courts    within   the

Circuit have also presumed without issue or elaboration that the

use of a filter team to segregate non-responsive or privileged

communications      does    not     run    afoul    of   any   established    legal

precedent.   See United States v. St. George, No. 19-cr-10059-RGS,

2021 WL 4132662, at *3 n.5, (D. Mass. Sept. 11, 2021) (government’s

failure to use filter team to segregate non-responsive files raised

a “policy” argument but “not a legal one”); United States v.

Keleher, 516 F. Supp. 3d 162, 170 (D.P.R. 2021); United States v.

Liberty, No. 19-cr-00030-GZS, 2020 WL 5540193, at *1 (D. Me. Feb.

12, 2020); United States v. Cadden, No. 14-cr-10363-RGS, 2015 WL

13683817, at *3 (D. Mass. Dec. 15, 2015) (ordering government to

finish   taint    team     review    by    set   deadline).       Likewise,   other

Circuits have “either approved of or recognized and declined to

criticize the use of government filter teams.” In re Sealed Search

Warrant & Application for a Warrant by Tel. or Other Reliable Elec.

Means, 11 F.4th 1235, 1249 (11th Cir. 2021) (collecting cases from

the Second, Third, Fourth, Seventh, Eighth, Ninth, and Tenth

Circuits).

     O’Donovan acknowledges the existence of such precedent but

argues that it is not instructive because, unlike the instant case,

none of those cases involved a direct challenge to the use of a

filter team as violating a defendant’s legal rights or established

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privilege principles.    O’Donovan instead urges this court to adopt

the Fourth Circuit’s more severe approach in In re Search Warrant

Issued June 13, 2019, 942 F.3d 159 (4th Cir. 2019).        In that case,

federal authorities in Maryland searched a law firm’s office and

seized a large quantity of client-related materials as part of an

investigation into a particular lawyer at the firm and one of that

lawyer’s clients.    In re Search Warrant, 942 F.3d at 165-66.         The

seized materials included approximately 52,000 of the lawyer’s

emails, of which only 116 involved the target client.         Id. at 168.

An “extensive” portion of the seized emails were from other members

of the law firm and had no connection to the investigation.            Id.

at 167.   Further, the same United States Attorney’s Office that

seized the emails and was conducting the taint review was also

investigating and/or prosecuting some of the firm’s other clients

for unrelated crimes.    Id.

     The Fourth Circuit found that the filter team’s review of the

seized materials injured the law firm and its clients, reversing

the district court’s order denying the law firm’s motion for a

preliminary injunction to halt the review process.               Notably,

though, the Court based its holding principally on its concerns

over the disproportionate harm the review had on the legal and

privacy interests of the target’s law firm and its clients, but it

did not find or suggest that the use of a filter team to review

potentially privileged documents in and of itself impermissibly

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interferes with the attorney-client privilege.                    Id. at 175 (“When

the   pertinent        legal    principles      are    properly      applied     to    the

unrefuted evidence, the Filter Team’s review . . . was and is

injurious to the Firm and its clients.”) (emphasis added).                             The

Court highlighted the uncontroverted evidence that fewer than one

percent of the seized emails related to the target client and that

many of the other emails “contained privileged communications and

attorney work product concerning other . . . clients,” including

clients being separately prosecuted by the same United States

Attorney’s Office.             Id. at 172.       In short, the serious injury

resulted        from   the      filter   team    intruding        into     privileged,

nonresponsive communications between other lawyers and clients,

the overwhelming majority of which had nothing to do with the

government’s investigation.

      The facts here paint a much less concerning picture.                            As a

threshold matter, the government represents, based on its use of

search terms, that only approximately 20 percent of the seized

materials are responsive to the search warrant, which means that

the government under the proposed modified protocol would at the

outset     be    returning      approximately         80   percent    of   the   seized

materials to O’Donovan without the filter team ever reviewing any

of it.     Further, the seized materials from O’Donovan’s phone would

necessarily be limited to his own communications and files, meaning

that there is no risk of harm to a broader organization beyond

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O’Donovan and his clients.         Additionally, unlike the lawyers in In

re Search Warrant, O’Donovan does not appear to have a federal

criminal   practice     or    represent    anyone   being   investigated     or

prosecuted by the United States Attorney’s Office. 1               Under these

circumstances,    the     filter     team’s   intrusion     into    privileged

materials here is substantially less in scope and is by design

intended to capture only communications responsive to the search

warrant.

      For these same reasons, there is no real cause for concern

that the government will (or even could) use the filter team review

as a fishing expedition to find otherwise-undiscoverable evidence

of unrelated crimes.      Again, the overwhelming majority of evidence

would by design be returned to O’Donovan without review by the

filter team and the remaining evidence would be subject to review

by   O’Donovan   and/or      the   court   before   being   provided   to   the

investigative team.       Similarly, the proposed modified protocol for

the same reasons does not unduly disregard the importance of the

attorney-client privilege.

      To be sure, the Fourth Circuit in In re Search Warrant also

held that the magistrate judge’s adoption of the filter protocol,


1 O’Donovan asserts that he “maintains a broad practice” that includes
criminal defense among several other fields. [Dkt. No. 9, p. 5]. The
government contends that O’Donovan “does not appear to have a federal
criminal practice” based on the fact that “his name does not appear in a
PACER case search for attorneys with cases in the United States District
Court for the District of Massachusetts.” [Dkt. No. 14, p. 15]. O’Donovan
does not contest the government’s characterization.

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which permitted the filter team in the first instance to determine

whether the attorney-client or work product privilege applied to

specific documents, constituted an improper delegation to the

filter    team    of    the    judicial       function    of   resolving       privilege

disputes.    In re Search Warrant, 942 F.3d at 176.                    This concern is

not present here, however, because even assuming arguendo that

adopting     such       a     filter      protocol      constitutes       an     improper

delegation,       the       defendant      agrees      that    a   procedure      “which

require[s] Mr. O’Donovan’s agreement or a [c]ourt [o]rder prior to

any   productions       to     the     investigative      team[]       would   cure   the

impermissible delegation.”                [Dkt. No. 9, p. 13] (citing In re

Sealed Search Warrant & Application for a Warrant by Tel. or Other

Reliable Elec. Means, 11 F.4th 1235, 1243 (11th Cir. 2021)).                          The

proposed modified protocol does just that: the filter team cannot

provide     any   materials          to   the     investigative        team    over   Mr.

O’Donovan’s       objection          unless       it   obtains     a     court    order.

Accordingly, the modified protocol assuages any concerns about

improper judicial delegation.

            C.    Further Objections to the Modified Protocol

      In addition to his broader concerns about violation of legal

privilege and improper delegation of judicial functions, O’Donovan

raises three objections about the adequacy of the filter protocol

in practice.       As discussed below, the proposed modified protocol

reasonably responds to each of these concerns.

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                 1.   Nonresponsive Materials

     In likening this case to In re Search Warrant, O’Donovan

points out that the “vast majority of the materials seized here

relate   to   other   clients   and    matters,   far   afield   from    the

government’s current focus on marijuana licensing issues.”             [Dkt.

No. 17, p. 2] (internal quotation omitted).        As previously noted,

the government has represented that approximately 80 percent of

the seized materials are not responsive to the search warrant.

Under the proposed modified protocol, the government will return

those materials to O’Donovan without either the filter team or the

investigative team ever reviewing them.           As such, the modified

protocol greatly reduces or even eliminates any issues surrounding

the filter team reviewing privileged, nonresponsive materials.

                 2.   Risk of Inadvertent Disclosure

     In his motion, O’Donovan cites to several cases where filter

teams improperly provided privileged materials to investigative

teams or investigative teams reviewed privileged materials without

a privilege review at all.      [Dkt. No. 9, pp. 10-11].     Filter teams

are made up of government agents, the argument goes, and those

agents have an interest in furthering the investigation such that

they tend toward over-disclosure to the investigative team.              See

In re Grand Jury Subpoenas, 454 F.3d 511, 523 (6th Cir. 2006)

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(“[T]he government’s fox is left in charge of the appellants’

henhouse, and may err by neglect or malice, as well as by honest

differences of opinion.”).         According to O’Donovan, allowing the

filter team, with its inherent bias toward over-disclosure, to

make privilege determinations is likely to result in the improper

disclosure of privileged materials to the investigative team.

This, he reasons, militates in favor of allowing him rather than

the filter team to make those determinations. 2

      As discussed above, the proposed modified protocol is set up

in such a way that the filter team will not turn any materials

over to the investigative team without (1) providing O’Donovan an

opportunity to object to their disclosure and (2) obtaining a court

order when and if O’Donovan objects.            The court is satisfied that

the proposed modified proposal adequately minimizes the risk of

inadvertent or improper disclosure to the investigative team.

                  3.   Movant’s Participation in the Modified Protocol

      Finally, O’Donovan notes in his motion that the original

filter   protocol      described   in   the    search   warrant   application

provides    no   meaningful    opportunity       for    defense   counsel    to

participate in the review process.           [Dkt. No. 9, p. 13].   O’Donovan

does not cite to any authority holding that an individual whose

property is seized has a right to participate in any privilege


2 The court notes that O’Donovan has a countervailing incentive to take an
overbroad view of privilege regarding the seized materials in order to
minimize the information passed to the investigative team.

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review process, nor is this court aware of any.            In any case, the

proposed modified protocol provides O’Donovan with the meaningful

opportunity he seeks, as he now has the chance to object to the

disclosure of any materials and to litigate those objections before

the court.     To the extent that O’Donovan takes issue with the

modified protocol’s five-business-day timeframe for him to object,

the court has no basis to deem it unreasonable in a vacuum, and

O’Donovan may always request additional time as needed if warranted

under the circumstances.

      III. CONCLUSION

      For the foregoing reasons, the emergency motion to intervene,

stay the government search of confidential communications, and

vacate the prior search protocol of privileged materials [Dkt. No.

9] is DENIED.      The court hereby approves the proposed modified

filter protocol laid out in the government’s response to the

present motion [Dkt. No. 14]. 3        The government may now continue

its review of the seized materials consistent with this protocol.



So Ordered.                                /s/ Donald L. Cabell
                                           DONALD L. CABELL, U.S.M.J.

DATED:   October 17, 2022




3 In ruling on this motion, the court makes no finding as to the adequacy of
the original filter protocol or any other protocols not presented in this
case.

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